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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
SYLWIA EWELINA MADEJ MANCHANDA and
RAHUL D. MANCHANDA,

                                   Plaintiffs,
                 -against-                                             20 CIVIL 1773 (GBD) (RWL)

                                                                            JUDGMENT
ANDREA LEWIS, SUSAN QUINTANA, U.S.
CITIZENSHIP AND IMMIGRATION SERVICES,
and DOES 1-5,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Decision and Order dated March 30, 2021, Magistrate Judge

Lehrburger's Report is adopted. Defendants' motion to dismiss is GRANTED. Plaintiffs' amended

complaint is dismissed.

Dated: New York, New York

          March 30, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
